Case 1:19-cv-00389-ACK-KJM Document 1-3 Filed 07/19/19 Pagelof5 PagelD#: 35

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

Defendants.

HB Productions, Inc. )
) Case No.: 1:19-cev-
Plaintiff, ) (Copyright)
vs. )
) DECLARATION OF STEPHANIE
DOE 1 dba YTS, et al. ) KESSNER
)
)
)

 

DECLARATION OF STEPHANIE KESSNER

Stephanie Kessner hereby declares under penalty of laws of the United States
that the following is true and correct.

LL. I am over 18 years of age and a resident of Kailua Kona, Hawaii.

2. I work with Culpepper IP, LLLC as a paralegal/legal assistant.

3. The below image accurately reflects how the website http://yts.lt
appeared on July 19, 2019 with the exception of the redaction of a portion of the
Internet Protocol (“IP”) address. The website included a promotion for a Virtual
Private Network (“VPN”) service that included an accurate description of the IP
address of my current location, the web browser, the computer and monitor used to

view the website.
Case 1:19-cv-00389-ACK-KJM Document 1-3 Filed 07/19/19 Page 2of5 PagelD #: 36

€ > CGC & https/jut *y © B ‘

Bao Pa toe

Warning! Download only with VPN...

ee
th Chrome 75.0.3770.142 (Windows 10)
j

 

4. The webbrower includes in Add-On to block trackers generated by
websites. The Add-On was checked to see if Cookies for Advertisements were being
generated by the website. The screenshot below is an accurately shows the
information displayed by the Add-On on July 19, 2019 which shows that a tracker

was blocked from the website.

€ > GG htps//tstt * ©B8 8 &

ACKERS 0°
Cotapse At
© Advertising
HTRAGKER 1 8LOCHID
yrte

Trackers Blocked: 1
Requests Modified: 3
Page Load:

O trestske

© reseree site

Alita: Battle Angel Lille Bm Te ee

 

Warning! Download only with VPN...
Case 1:19-cv-00389-ACK-KJM Document 1-3 Filed 07/19/19 Page3of5 PagelD#: 37

3: The below image accurately reflects how the website

https://yts.It/blog/yts-ag-yify-registrations-are-open appeared on July 19, 2019.

€ > CS & htps//tetvoloa/yts-ag-yity: rations-are-open xy 6B giéc

/ YIFY registrations are open!

YTS ©2011 - 2019 - Btog - DMCA - API - RSS - C t = Browse Me

 

6. The below image accurately reflects how a portion of the website

https://www.domreg.It/en/services/whois/?search=yts.lt appeared on July 19, 2019.
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SEARCHING FOR THE DOMAIN IN WHOIS

| yts.lt | CHECK

 

 

Bunain inforsatior |

Domain yts.it
Status Registered
Created 2018-07-20 19:13:37
Expires 2019-07-21 23:59:59
Updated 2079-04-11 19:34:46

Registrant information

Organization Techiodo Limited
85 Great Portland Street, First Floor, Landan,
Wii 7LT, gb
Phone +44.2071129167
1 3bbSb1fccd2e60880654b08fd2bbbes-
8293542@contact.gandi.net

Address

Email

| Technical contact

Organization TechModo Limited
&5 Great Portland Street, First Floor, London,
WW 7LT, gb
1 3bbSb1fccd2e60820654bdafd2b6be7-
8293542@contact.gandi.net
Phone +44.2071129167

Address

Email

| Registrar

Organization Gandi Sas
Website hittp:/www.gandi.net!
Email reg |t-admin@gandi.net
DNS servers
eric.ns.cloudflare.com

erin.ns.cloudflare.com

//

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I declare under the penalty of perjury that the foregoing is true and correct.

DATED: Kailua Kona, Hawaii, July 19, 2019.

Stephanie Kessner
